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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION




PAVEL GOBERMAN,                              )
                                             )
             Plaintiff,                      )
                                             )            CIVIL ACTION NO.
VS.                                          )
                                             )            3:16-CV-0994-G (BH)
CARLOS CASCOS, Texas Secretary of            )
State,                                       )
                                             )
             Defendant.                      )




                    MEMORANDUM OPINION AND ORDER


      Before the court is the motion of the defendant, Carlos H. Cascos, in his

official capacity as Texas Secretary of State (“Secretary Cascos”), to dismiss the

claims of the plaintiff, Pavel Goberman (“Goberman”), pursuant to FED. R. CIV. P.

12(b)(1) (docket entry 12). For the reasons set forth below, the motion is granted.

                                  I. BACKGROUND

      On April 11, 2016, Goberman filed this suit against Secretary Cascos, seeking

an order that would allow Goberman to register to vote without making his physical

address public information, as is currently required by Texas state law. Complaint ¶ 1
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(docket entry 3); TEX. ELEC. CODE ANN. §§ 18.005(a)(2); 18.066(a) (West 2015).

Additionally, Goberman would like to run for public office without making his

physical address public information, as is also required by Texas state law. Complaint

¶ 1; TEX. ELEC. CODE ANN. §§ 141.031(a)(4)(I); 141.035 (West 2015). In order to

maintain confidentiality of his physical address, Goberman would like to disclose his

P.O. Box address instead. Complaint ¶ 1. In his complaint, Goberman alleges that

Secretary Cascos violated the First, Fourth, Fifth, Sixth, Fourteenth, and Fifteenth

Amendments of the United States Constitution by requiring Goberman and other

United States citizens to disclose their physical addresses in order to vote. Id. On

June 2, 2016, Secretary Cascos filed the instant motion to dismiss under Rule

12(b)(1) for lack of subject matter jurisdiction and 12(b)(6) for failure to state a

claim upon which relief may be granted. Defendant’s Motion to Dismiss Under

Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6) (“Motion”) at 3 (docket entry

12).

       Because this court concludes Goberman lacks standing to bring his claims, the

court need not address Secretary Cascos’s contentions that Goberman’s claims are

moot, that Goberman cannot bring a Fifth Amendment claim, or that the Eleventh

Amendment bars Goberman’s claims. See Defendant’s Brief in Support of Motion to

Dismiss (“Defendant’s Brief”) at 5-6, 10-12 (docket entry 13). Additionally, this

court need not reach Secretary Cascos’s 12(b)(6) motion. Motion at 3.



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                                     II. ANALYSIS

                   A. Standard for Rule 12(b)(1) Motion to Dismiss

       Rule 12(b)(1) of the Federal Rules of Civil Procedure authorizes the dismissal

of a case for lack of jurisdiction over the subject matter. See FED. R. CIV. P. 12(b)(1).

A motion to dismiss pursuant to Rule 12(b)(1) for lack of subject matter jurisdiction

must be considered by the court before any other challenge because “the court must

find jurisdiction before determining the validity of a claim.” Moran v. Kingdom of

Saudi Arabia, 27 F.3d 169, 172 (5th Cir. 1994) (internal citation omitted); see also

Ruhrgas AG v. Marathon Oil Company, 526 U.S. 574, 577 (1999) (“The requirement

that jurisdiction be established as a threshold matter . . . is inflexible and without

exception”) (citation and internal quotation marks omitted). On a Rule 12(b)(1)

motion, which “concerns the court’s ‘very power to hear the case . . . [,] the trial court

is free to weigh the evidence and satisfy itself as to the existence of its power to hear

the case.’” MDPhysicians & Associates, Inc. v. State Board of Insurance, 957 F.2d 178,

181 (5th Cir.) (quoting Williamson v. Tucker, 645 F.2d 404, 413 (5th Cir.), cert. denied,

454 U.S. 897 (1981)), cert. denied, 506 U.S. 861 (1992). In ruling on a motion to

dismiss under Rule 12(b)(1), the court may rely on: “1) the complaint alone; 2) the

complaint supplemented by undisputed facts; or 3) the complaint supplemented by

undisputed facts and the court's resolution of disputed facts.” MCG, Inc. v. Great

Western Energy Corporation, 896 F.2d 170, 176 (5th Cir. 1990) (citing Williamson, 645



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F.2d at 413). Once jurisdiction is challenged, the burden rests upon the party seeking

to invoke the court’s jurisdiction to prove that jurisdiction is proper. Boudreau v.

United States, 53 F.3d 81, 82 (5th Cir. 1995), cert. denied, 516 U.S. 1071 (1996).

      Importantly, lack of Article III standing is a defect in subject matter

jurisdiction. See Bender v. Williamsport Area School District, 475 U.S. 534, 541-42,

(1986); O’Shea v. Littleton, 414 U.S. 488, 493-95, (1974). Therefore, when a plaintiff

lacks standing to sue in federal court, it is appropriate for the court to dismiss the

action, pursuant to Rule 12(b)(1), for want of subject matter jurisdiction. See Chair

King, Inc. v. Houston Cellular Corporation, 131 F.3d 507, 509 (5th Cir. 1997); Bender,

475 U.S. at 541.

      In the instant motion, Secretary Cascos has asserted that Goberman lacks

standing to bring his claims because “he has not established an injury in fact” and

that Goberman lacks standing to sue on behalf of the “many U.S. citizens who do not

vote.” Defendant’s Brief at 7-9. For the reasons discussed below, the court finds that

Goberman has not established Article III standing to sue on behalf of himself, or on

behalf of unidentified third parties.




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                                     B. Application

                     1. Goberman Lacks Standing to Bring His Claims

       Article III of the United States Constitution limits federal courts’ jurisdiction

to “cases” and “controversies.” U.S. CONST. art. III § 2. Standing -- i.e., the need to

show that the plaintiffs have a direct, personal stake in the outcome of the suit -- is an

“essential and unchanging part” of this case-or-controversy requirement. Lujan v.

Defenders of Wildlife, 504 U.S. 555, 560 (1992). “The federal courts are under an

independent obligation to examine their own jurisdiction, and standing is perhaps the

most important of [the jurisdictional] doctrines.” United States v. Hays, 515 U.S. 737,

742 (1995) (quoting FW/PBS, Inc. v. Dallas, 493 U.S. 215, 230-31 (1990)) (internal

quotation marks omitted). As the Supreme Court explained in Lujan, the “irreducible

constitutional minimum of standing” has three elements:

              First, the plaintiff must have suffered an “injury in fact” --
              an invasion of a legally protected interest which is
              (a) concrete and particularized, and (b) “actual or
              imminent, not ‘conjectural’ or ‘hypothetical.’” Second,
              there must be a causal connection between the injury and
              the conduct complained of -- the injury has to be “fairly
              . . . trace[able] to the challenged action of the defendant,
              and not . . . th[e] result [of] the independent action of
              some third party not before the court.” Third, it must be
              “likely,” as opposed to merely “speculative,” that the injury
              will be “redressed by a favorable decision.”

504 U.S. at 560-61 (internal citations and footnote omitted); see also Vermont Agency

of Natural Resources v. United States ex rel. Stevens, 529 U.S. 765, 771 (2000); Public



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Citizen, Inc. v. Bomer, 274 F.3d 212, 217-18 (5th Cir. 2001). All three elements must

exist to establish Article III standing. Vermont Agency, 529 U.S. at 771. Because these

elements “are not mere pleading requirements but rather an indispensable part of the

plaintiff’s case, each element must be supported in the same way as any other matter

on which the plaintiff bears the burden of proof, i.e., with the manner and degree of

evidence required at the successive stages of litigation.” Lujan, 504 U.S. at 561. “At

the pleading stage, general factual allegations of injury resulting from the defendant’s

conduct may suffice, for on a motion to dismiss we ‘presum[e] that general allegations

embrace those specific facts that are necessary to support the claim.’” Id. (quoting

Lujan v. National Wildlife Federation, 497 U.S. 871, 889 (1990)).

      In the present case, Goberman has not met his burden of alleging the first

element, an “injury in fact.” Lujan, 504 U.S. at 560. Goberman has first failed to

show that he has a legally protected interest in his physical address remaining

confidential. Texas laws do not protect this general interest. See TEX. ELEC. CODE

ANN. §§ 18.005(a)(2); 18.066(a); 141.031(a)(4)(I); 141.035; TEX. GOV’T CODE

§ 552.021 (West 2015). While Texas voting laws do protect the confidentiality of

home addresses for certain groups of individuals, Goberman does not claim to belong

to any of these groups. See TEX. ELEC. CODE ANN. §§ 18.066(b)(2) (West 2015)

(protecting the confidentiality of home addresses of federal and state judges and their

spouses); TEX. CRIM. PROC. CODE art. 56.82 (West 2015) (protecting the



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confidentiality of home addresses of victims of certain crimes). Complaint ¶ 1.

Additionally, Goberman has not pointed to any specific federal law which protects

this interest. Complaint ¶ 1. See Rivera v. Wyeth-Ayerst Laboratories, 283 F.3d 315,

319 (5th Cir. 2002) (“To establish an injury in fact, plaintiff[] must demonstrate an

invasion of a legally protected interest which is . . . concrete and particularized”)

(citation and internal quotation marks omitted).

       Regardless of the type of interest Goberman has in the confidentiality of his

physical address, Goberman has not alleged that this interest has been invaded. See

Lujan, 504 U.S. at 560. Looking to Goberman’s complaint, it appears as though he

has not yet registered to vote or filed his application to run for public office. See

Complaint ¶ 1 (“I want to register to vote and to vote. Also I want to run for the

public office.”; “The state codes, rules, and regulations are [sic] make me not eligible

to vote.”; “I’m asking this court . . . to give an Order to keep my physical address

confidential and allow me to vote.”). If Goberman did not register to vote or file his

application to run for public office, then his physical address was not part of the

public record for someone to find. Therefore, the confidentiality of his physical

address could not have suffered an “actual” invasion. See Lujan, 504 U.S. at 560.

Even if Goberman has registered to vote or filed his application to run for public

office, the invasion Goberman alleges, Complaint ¶, 1 is not actual, concrete, or

particularized because Goberman has failed to point to any instance of someone



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searching the public records to find his physical address. See id. Goberman’s

complaint involves a hypothetical future invasion. See Bauer v. Texas, 341 F.3d 352,

358 (5th Cir. 2003) (“Additionally, the continuing controversy may not be

conjectural, hypothetical, or contingent; it must be real and immediate, and create a

definite, rather than speculative threat of future injury.”).

       This hypothetical future invasion is also not imminent. See Lujan, 504 U.S. at

560. The Supreme Court has emphasized that imminence “cannot be stretched

beyond its purpose, which is to ensure that the alleged injury is not too speculative

for Article III purposes -- that the injury is certainly impending.” Clapper v. Amnesty

International USA,     U.S.    , 133 S.Ct. 1138, 1147 (2013) (emphasis in original)

(quoting Lujan, 504 U.S. at 565 n.2) (internal quotation marks omitted); see also

Crane v. Johnson, 783 F.3d 244, 251 (5th Cir. 2015). The basis Goberman relies on --

that at some future time someone is going to go into the public records to search out

his home address -- is highly speculative. See id. Moreover, if Goberman has not

registered to vote and his address is not part of the public record -- as seems to be the

case -- then predicting any future injury is not just highly speculative, but not

possible. Goberman has not sustained his burden of establishing an “invasion of a

legally protected interest” that is “concrete and particularized” and “actual or

imminent.” See Lujan, 504 U.S. at 560.




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                2. Goberman Lacks Standing to Bring His Claims on Behalf
                          of “many U.S. citizens who do not vote”

       “Ordinarily, one may not claim standing in this Court to vindicate the

constitutional rights of some third party.” Singleton v. Wulff, 428 U.S. 106, 114

(1976) (internal quotations omitted). When evaluating potential exceptions to this

general rule, the Supreme Court has looked to two elements: “The first is the

relationship of the litigant to the person whose right he seeks to assert,” Singleton, 428

U.S. at 114, and “[t]he other . . . is the ability of the third party to assert his own

right.” Id. at 115-16. Goberman’s attempt to assert constitutional claims on behalf

of “many U.S. citizens” falls within the general rule. See id. There is no relationship

between Goberman and the “many U.S. citizens who do not vote,” nor is there any

reason why those citizens could not themselves assert any claims they may have. See

id. Accordingly, Goberman lacks standing to assert his constitutional claims on behalf

of these unidentified third parties. See id.

                                  III. CONCLUSION

       For the reasons stated above, Secretary Cascos’s 12(b)(1) motion to dismiss for

lack of subject matter jurisdiction is GRANTED. Goberman’s claims will be

dismissed, without prejudice, at his cost.




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      SO ORDERED.


July 12, 2016.


                                  ___________________________________
                                  A. JOE FISH
                                  Senior United States District Judge




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